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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF ARKANSAS
                                                CENTRAL DIVISION
Debtor: Latasha Piggee                                                                                     Case No. 4:21-bk-10845


                                                Arkansas Chapter 13 Plan
                                                    (Local Form 13-1)
___________________________________________________________________________________________________________

 Original Plan              Amended Plan               For an amended plan, all applicable provisions must be repeated
                                                       from the previous plan(s). Provisions may not be incorporated by
                                                       reference from previously filed plan(s).

                                                       List below the sections of the plan that have been changed:
                                                       _________________________________________________________________

                                                       State the reason(s) for the amended plan, including any changes of circumstances
                                                       below. If creditors are to be added, please complete Addendum A as well as file
                                                       any appropriate amended schedules.
                                                       ________________________________________________________________

                                                       ________________________________________________________________

                                                       The Amended Plan is filed:           Before confirmation
                                                                                            After confirmation
 Part 1: Notices
 To Debtor(s): This form sets out options that may be appropriate in some cases, but the presence of an option on the form
               does not indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules
               and judicial rulings may not be confirmable.

                Original plans and amended plans must have matrix(ces) attached or a separate certificate of service should be
                filed to reflect service in compliance Fed. R. Bankr. P. 2002.

 To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read
               this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney,
               you may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your
               attorney must file a written objection to confirmation with the United States Bankruptcy Court either electronically (if filer
               is approved for electronic filing) or at the following addresses:

                  x   For Eastern District cases (Batesville, Helena, Jonesboro, Little Rock, or Pine Bluff Divisions):
                      United States Bankruptcy Court, 300 West 2nd Street, Little Rock, AR 72201

                  x   For Western District cases (El Dorado, Fayetteville, Fort Smith, Harrison, Hot Springs, or Texarkana Divisions):
                      United States Bankruptcy Court, 35 E. Mountain Street, Fayetteville, AR 72701

                The objection should be filed consistent with the following timelines:

                      Original plan filed at the time the petition is filed: Within 14 days after the 341(a) meeting of creditors is
                      concluded.

                      Original plan filed after the petition is filed or amended plan (only if filed prior to the 341(a) meeting): Within
                      the later of 14 days after the 341(a) meeting of creditors is concluded or 21 days after the filing of the plan.

                      Amended plan: Within 21 days after the filing of the amended plan.


              The court may confirm this plan without further notice if no objection to confirmation is timely filed.
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  The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the plan
  includes each of the following items. If an item is checked as “Not included” or if both boxes are checked, the provision will
  be ineffective if set out later in the plan.

          A limit on the amount of a secured claim, set out in Section 3.4, which may
   1.1
          result in a partial payment or no payment at all to the secured creditor.                   x Included        Not included

   1.2 Nonstandard plan provisions, set out in Part 8.                                                x Included        Not included
  2

 Part 2: Plan Payments and Length of Plan
  2.1 The debtor(s) will make regular payments to the trustee as follows:
    Inapplicable portions below need not be completed or reproduced.

      Original plan: The debtor(s) will pay $335 per month to the trustee. The plan length is 60 months.

          The following provision will apply if completed:

               Plan payments will change to $________ per month beginning on ________.

               Plan payments will change to $________ per month beginning on ________.
                   (Use additional lines as necessary.)

         Amended plan: Plan payments will change to $________ per month beginning on the later of the date of filing of the amended
         plan or ________. The plan length is ________ months.

          The following provision will apply if completed:

               Plan payments will change to $________ per month beginning on ________.

               Plan payments will change to $________ per month beginning on ________.
                   (Use additional lines as necessary.)

          The debtor(s) will pay all disposable income into the plan for not less than the required plan term, or the applicable commitment
          period, if applicable, unless unsecured creditors are being paid in full (100%). If fewer than 60 months of payments are
          specified, additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this
          plan.

  2.2     Payments shall be made from future income in the following manner:

          Name of debtor: Latasha Piggee

                  Direct pay of entire plan payment of $335 each month.

                  Employer withholding of $________ per month.
                      Payment frequency:        monthly,  semi-monthly,       bi-weekly,    weekly,     other
                      If other, please specify: ___________________

                            Employer name ______________________________________
                            Address       ______________________________________
                                          ______________________________________
                            Phone         ______________________________________

          Name of debtor________________________

                  Direct pay of entire plan payment or ________ (portion of payment) per month.

                  Employer withholding of $________ per month.
                      Payment frequency:        monthly,  semi-monthly,       bi-weekly,    weekly,     other
                      If other, please specify: ___________________

                            Employer name ______________________________________
                            Address       ______________________________________
                                          ______________________________________
                            Phone         ______________________________________

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  2.3    Income tax refunds.

   Check one.
          Debtor(s) will retain income tax refunds received during the plan term and have allocated the refunds in the budget.

             Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the
         return and will turn over to the trustee all income tax refunds received during the plan term.

            Debtor(s) will treat income tax refunds as described below. The debtor(s) will supply the trustee with a copy of each income
         tax return filed during the plan term within 14 days of filing.
          ____________________________________________________________________________________________________
         ____________________________________________________________________________________________________

  2.4 Additional payments.

   Check one.
          None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
      _____________________________________________________________________________________________________

 Part 3: Treatment of Secured Claims
  3 . 1 Adequate Protection Payments.

         Check one.
           None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

             The debtor(s)’ plan payment to the trustee will be allocated to pay adequate protection payments to secured creditors as
         indicated below. The trustee shall be authorized to disburse adequate protection payments upon the filing of an allowed claim
         by the creditor. Preconfirmation adequate protection payments will be made until the plan is confirmed. Postconfirmation
         adequate protection payments will be made until administrative fees are paid (including the initial attorney’s fee). Payment of
         adequate protection payments will be limited to funds available.

           Creditor and last 4 digits of                                   Monthly
                                           Collateral                                                       To be paid
           account number                                                  payment amount
           Ally Financial                  2015 Kia Optima                 $100                                Preconfirmation
                                                                                                               Postconfirmation
                                                                                                               Preconfirmation
                                                                                                               Postconfirmation
                                                                                                               Preconfirmation
                                                                                                               Postconfirmation

  3 . 2 Maintenance of payments and cure of default (long term-debts, including debts secured by real property that debtor(s)
        intend to retain).
        Check one.
           None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

  3.3   Secured claims excluded from 11 U.S.C. § 506 (non-506 claims).
        Check one.
           None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

  3.4   Claims for which § 506 valuation is applicable. Request for valuation of security, payment of fully secured claims, and
        modification of undersecured claims.

        Check one.
           None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

        The remainder of this paragraph will be effective only if there is a check in the box “included” in § 1.1.

           The debtor(s) request that the court determine the value of the collateral securing the claims as listed below. For each non-
        governmental secured claim listed below, the debtor(s) state that the value of the collateral securing the claim should be as set
        out in the column headed Value of collateral. For secured claims of governmental units, unless otherwise ordered by the court,
        the value of the collateral securing the claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over
        any contrary amount listed below.

        Secured claims will be paid the lesser of the amount of the claim or the value of the collateral with interest at the rate stated
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        below. The portion of any allowed claim that exceeds the value will be treated as an unsecured claim under Part 5 of this plan. If
        the amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety
        as an unsecured claim under Part 5 of this plan. Unless otherwise ordered by the court, the claim amounts listed on a filed and
        allowed proof of claim will control over any contrary amount listed below, except as to value, interest rate and monthly payment.

        The holder of any claim listed below as having value in the column headed Value of collateral will retain the lien on the property
        interest of the debtor(s) or the estate(s) until the earlier of: (a) payment of the underlying debt determined under nonbankruptcy
        law, or (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the
        creditor.


           Creditor and last 4                                           Debt/                                                       Estimated
                                                          Purchase                          Value of     Interest     Monthly
           digits of account        Collateral                           estimated                                                   unsecured
                                                          date                              collateral   rate         payment
           number                                                        claim                                                       amount
             Ally Financial 9866     2015 Kia Optima      03/11/2016          $16,887        $10,750        5%          $200.50        $6,137


  3.5   Surrender of collateral.

            None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

  3.6 Secured claims not provided treatment. In the event that a secured claim is filed and allowed that is not provided treatment in
      the plan, the trustee shall pay such creditor the claim amount without interest after this plan in all other respects has been
      completed.

  Part 4: Treatment of Fees and Priority Claims
  4.1   General.

        Trustee’s fees and all allowed priority claims, including domestic support obligations, will be paid in full without postpetition interest.

  4.2   Trustee’s fees.

        The trustee’s fees are governed by statute and may change during the course of the case.

  4.3   Attorney’s fees.

        The attorney’s fee is subject to approval of the court by separate application. The following has been paid or will be paid if
        approved by the court:

              Amount paid to attorney prior to filing:          $0.00

              Amount to be paid by the trustee:            $1,500.00

              Total fee requested:                         $1,500.00

        Upon confirmation, the attorney shall receive an initial fee as provided in the application and approved by the court from funds
        paid by the debtor(s), after administrative costs have been paid. The remaining fee will be paid at the percentage rate of the total
        disbursed to creditors each month provided in the application approved by the court.

              The initial fee and percentage rate requested in the application are $1,200.00 and 25%, respectively.




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  4.4   Priority claims other than attorney’s fees and those treated in § 4.5.


        Filed and allowed priority claims (usually tax claims), including without limitation, the following listed below, will be paid in full in
        accordance with 11 U.S.C. § 1322(a)(2), unless otherwise indicated. For claims filed by governmental units, the categorization
        of the claim by the creditor (secured, priority, nonpriority unsecured) and amounts shall control over any contrary amounts unless
        otherwise ordered by the court.

          Creditor                                  Nature of claim (if taxes, specify type and years)             Estimated claim amount




  4.5   Domestic support obligations.

        Check one.
          None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



 Part 5: Treatment of Nonpriority Unsecured Claims
  5.1   Nonpriority unsecured claims.

        Allowed nonpriority unsecured claims shall be paid at least as much as they would receive if the debtor(s) filed a Chapter 7 case.
        Allowed nonpriority unsecured claims shall be paid in full (100%) unless a different treatment is indicated below. For
        above median income debtor(s), the distribution to unsecured creditors includes any disposable income pool (monthly disposable
        income times 60 months) from Form 122C-2, unless the debtor(s) are unable to meet the disposable income pool based on the
        following circumstances: _________________________________________________________________________________
        _____________________________________________________________________________________________________

        Check one, if applicable.
           A PRORATA dividend, including disposable income pool amounts, if applicable, from funds remaining after payment of all
        other classes of claims; or

           Other. Please specify _____________________________________________.

  5.2   Special nonpriority unsecured claims and other separately classified nonpriority unsecured claims.

        Check one.
          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

  5.3   Maintenance of payments and cure of any default on nonpriority unsecured claims.

        Check one.
          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


 Part 6: Contracts, Leases, Sales and Postpetition Claims
  6.1   Executory Contracts and Unexpired Leases.

        Check one.
          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

  6.2   Sale of assets.

        Check one.
          None. If “None” is checked, the rest of § 6.2 need not be completed or reproduced.

  6.3   Claims not to be paid by the trustee.

        Check one.
          None. If “None” is checked, the rest of § 6.3 need not be completed or reproduced.

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  6.4   Postpetition claims.

        Check one.
          None. If “None” is checked, the rest of § 6.4 need not be completed or reproduced.




 Part 7: Vesting of Property of the Estate
  7.1   Property of the estate will vest in the debtor(s) upon:

        Check the applicable box.

           plan confirmation.

           entry of discharge.

           other: _________________________________________________________


 Part 8: Nonstandard Plan Provisions
           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

        Under Bankruptcy Rule 3015.1(c), nonstandard provisions must be set forth below. A nonstandard provision
        is a provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set
        out elsewhere in this plan are ineffective.

  8.1   The following plan provisions will be effective only if there is a check in the box “included” in § 1.2.

        Debtor does not intend to cure any delinquency in her case. This plan is intended to be calculated with
        payments beginning in September 2021 and continuing for the remainder of this case.


 Part 9: Signatures
        By filing this document, the attorney for the debtor(s) or the debtor(s) themselves, if not represented by an
        attorney, certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
        those contained in plan form used in the Eastern and Western Districts of Arkansas, other than any
        nonstandard provisions included in Part 8.

                    /s/ Matthew D. Mentgen                                       09/02/2021
                  _____________________________________                     Date_______________
                  Signature of Attorney for Debtor(s)


                    /s/ Latasha Piggee                                           09/02/2021
                  _____________________________________                     Date_______________
                  Signature(s) of Debtor(s)
                  (required if not represented by an attorney;
                  otherwise optional)




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                                  Addendum A – For Amended Plans

              Listing of Additional Creditors and Claims for Plan Purposes
Note: While additional creditors may be listed on Addendum A, the debtor(s) also must file amended schedules as
appropriate.


A.1    Prepetition Nonpriority Unsecured Claims.
    The following are creditors with prepetition nonpriority unsecured claims that are added to the plan. These creditors
    will be provided treatment as described in Part 5.1 of the plan.

                                                  Last four digits of         Nature of debt and
         Name and address of creditor                                                                    Amount of debt
                                                  account number              date incurred




A.2    Postpetition Nonpriority Unsecured Claims.
    The following are creditors with postpetition nonpriority unsecured claims pursuant to 11 U.S.C. §§ 1305 and 1322(b)(6)
    that are added to the plan by the debtor(s). The creditors listed below are entitled to participate in the debtor(s)’
    bankruptcy case at the election of the creditor.

    A creditor may elect to participate in the plan by filing a proof of claim for the postpetition claim. The claim
    will be treated as though the claim arose before the commencement of the case and will be provided treatment
    as described in Part 5.1 of the plan. Upon completion of the plan and case, any unpaid balance of such claim
    may be subject to discharge.

                                                                                                             Approval to incur
                                         Last four digits of       Nature of debt and
         Name and address of creditor                                                   Amount of debt       obtained from
                                         account number            date incurred
                                                                                                             trustee or court
                                                                                                                Yes
                                                                                                                No
                                                                                                                Yes
                                                                                                                No
                                                                                                                Yes
                                                                                                                No
                                                                                                                Yes
                                                                                                                No




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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION


In re: Latasha Piggee                                                    Case No.: 4:21-bk-10845
Debtor                                                                                 Chapter 13

                              CERTIFICATE OF SERVICE



       The undersigned hereby certifies that, on September 2, 2021, a true and correct copy of
the foregoing has been served on the Chapter 13 Standing Trustee servicing this case and Charles
W. Tucker, Assistant United States Trustee by CM/ECF; and served on all creditor whose names
and addresses are set forth on the matrices filed in this case by U.S. Mail, postage prepaid.
       The undersigned further certifies that a true and correct copy of the foregoing that requests
a valuation determination pursuant to Section 3.4 was served by U.S. Mail, postage prepaid, to the
following as noted:


       Ally Financial
       c/o CT Corporation System (Registered Agent)
       124 WEST CAPITOL AVENUE, SUITE 1900
       LITTLE ROCK, AR 72201
       (Regular Mail)

                                                     By: /s/ Matthew D. Mentgen
                                                     Matthew D. Mentgen
                                                     State Bar No. 2008096

                                                     Mentgen Law
                                                     PO Box 164439
                                                     Little Rock, AR 72216
                                                     Tel: (501) 392-5662
                                                     Fax: (866) 528-0404
                                                     matthew@mentgenlaw.com
